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            Exhibit I
 (previously filed as Dkt. 660-9)
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                                                                        Page 1

    1                  IN THE UNITED STATES DISTRICT COURT
    2                  FOR THE EASTERN DISTRICT OF VIRGINIA
    3                           Alexandria Division
    4        - - - - - - - - - - - - - -+
                                                 |
    5        UNITED STATES OF AMERICA,           |
             et al,                              |
    6                                            |
                          Plaintiffs,            |     Case Number:
    7                                            |
                vs.                              |     1:23-cv-00108-
    8                                            |     LMB-JFA
                                                 |
    9        GOOGLE, LLC,                        |
                                                 |
  10                      Defendant.             |
                                                 |
  11         - - - - - - - - - - - - - -+
  12
  13                           Video Deposition of
  14                            ROBIN E. LEE, Ph.D.
  15                          Friday, March 15, 2024
  16                                   9:39 a.m.
  17
  18
  19
  20         Veritext Job 6456904
  21         Reported by:     Laurie Donovan, RPR, CRR, CLR
  22

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                                                         Page 26                                                    Page 28
        1      institutional details, learning as much as I         1   You've told me that several times, but as of
        2      can before applying these economic                   2   today, would you call yourself an expert in
        3      frameworks.                                          3   digital advertising?
        4   BY MR. ISAACSON:                                        4          MR. NAKAMURA: Objection to form.
        5      Q Before the fall of 2019, did you                   5          THE WITNESS: So here I'm testifying as
        6   consider yourself an expert in digital                  6      an economic expert and as somebody who has
        7   advertising?                                            7      studied digital advertising, in particular,
        8          MR. NAKAMURA: Objection to form.                 8      web display advertising, at some length for
        9          THE WITNESS: Again, I'm here testifying          9      the past several years.
       10      as an economic expert with training in              10   BY MR. ISAACSON:
       11      industrial organization.                            11      Q So would you -- as of today, would you
       12   BY MR. ISAACSON:                                       12   call yourself an expert in digital advertising?
       13      Q So before the fall of 2019, before                13          MR. NAKAMURA: Objection to form.
       14   you're hired to testify in this case, did you          14          THE WITNESS: I don't have -- I'm not
       15   consider yourself an expert in digital                 15      applying a label to myself of that form.
       16   advertising?                                           16   BY MR. ISAACSON:
       17          MR. NAKAMURA: Objection to form.                17      Q You're aware that the United States is
       18          THE WITNESS: Probably depends on what           18   seeking damages in this case on behalf of federal
       19      you referred to as "expert," but I knew a           19   agency advertisers; is that right?
       20      little bit of it, about digital advertising,        20      A I'm aware.
       21      based on my prior experience, but I have not        21      Q And you are not expressing opinions in
       22      published any work on digital advertising           22   this case about whether those federal agencies
                                                         Page 27                                                    Page 29
        1      specifically, although some of my work,              1   have suffered any antitrust injury, correct?
        2      including that on cable television markets,          2          MR. NAKAMURA: Objection to form.
        3      touched upon advertising, and in my teaching,        3          THE WITNESS: So I'm expressing the
        4      I do, as an industrial organization                  4      opinion that certain actions taken by Google
        5      economist, cover advertising as an economic          5      with respect to its ad tech products have
        6      concept.                                             6      harmed customers of its products which
        7   BY MR. ISAACSON:                                        7      include advertisers.
        8      Q So based on that work you had done as              8   BY MR. ISAACSON:
        9   you -- that touched on digital advertising, before      9      Q And are you expressing any opinion in
       10   the fall of 2019, did you consider yourself to be      10   this case about whether the federal agency
       11   an expert in digital advertising?                      11   advertisers have suffered any damages?
       12          MR. NAKAMURA: Objection to form.                12          MR. NAKAMURA: Objection to form.
       13          THE WITNESS: I don't think I ever               13          THE WITNESS: So again, my opinion is
       14      called myself an expert --                          14      that certain actions taken by Google has
       15   BY MR. ISAACSON:                                       15      harmed advertisers and publishers that use ad
       16      Q And I understand --                               16      tech products to transact open-web display
       17      A -- in digital advertising.                        17      advertising.
       18      Q Thank you. I didn't mean to interrupt             18   BY MR. ISAACSON:
       19   you.                                                   19      Q Are you expressing any opinions in this
       20          And I understand that based on your             20   case about the amount of any damages of any
       21   background in economics, you are applying your         21   federal agency advertiser?
       22   expertise to digital advertising in this case.         22          MR. NAKAMURA: Objection to form.

                                                                                                       8 (Pages 26 - 29)
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                                                         Page 30                                                  Page 32
        1         THE WITNESS: I'm not providing a                  1      opinion that certain Google products, in
        2      precise number of damages for these                  2      particular -- I'm sure we'll discuss them --
        3      particular advertising customers.                    3      Google Ads, AdX, and DFP, possess substantial
        4   BY MR. ISAACSON:                                        4      and sustained market power protected by
        5      Q And based on your background in                    5      significant barriers to entry, which are
        6   economics and industrial organization, as I             6      associated with economic profits.
        7   understand it, you are not offering expert              7   BY MR. ISAACSON:
        8   opinions on the meaning of any individual               8      Q Are you expressing an opinion in this
        9   documents in this case?                                 9   case as to the amount of economic profits for
       10         MR. NAKAMURA: Objection to form.                 10   Google ad tech products?
       11         THE WITNESS: Can you restate your                11         MR. NAKAMURA: Objection to form.
       12      question or rephrase it?                            12         THE WITNESS: As I stated before, I'm
       13   BY MR. ISAACSON:                                       13      expressing an opinion regarding the extent of
       14      Q Are you offering expert opinions on the           14      market power for these products which would
       15   meaning of any individual documents in this case?      15      be associated with a positive economic
       16         MR. NAKAMURA: Objection to form.                 16      profit.
       17         THE REPORTER: Meaning?                           17   BY MR. ISAACSON:
       18         MR. ISAACSON: Meaning, yes.                      18      Q All right. My question went to the
       19         THE WITNESS: I'm not.                            19   amount of economic profits.
       20         MR. NAKAMURA: Same objection.                    20         Are you expressing an opinion in this
       21   BY MR. ISAACSON:                                       21   case as to the amount of economic profits for
       22      Q And you are not expressing an opinion in          22   Google ad tech products?
                                                         Page 31                                                  Page 33
        1   this case on the accounting profits of any Google       1          MR. NAKAMURA: Objection to form.
        2   product area; is that correct?                          2          THE WITNESS: My opinion is that Google
        3          MR. NAKAMURA: Objection to form.                 3      Ads, AdX and DFP are earning economic profits
        4          THE WITNESS: Can you restate your                4      consistent with their possession of
        5       question, please.                                   5      substantial and sustained market power.
        6   BY MR. ISAACSON:                                        6   BY MR. ISAACSON:
        7       Q Sure. You are not expressing an opinion           7      Q And have you expressed an opinion as to
        8   in this case on the accounting profits of any           8   the amount of those profits, those economic
        9   Google product area in this case; am I correct?         9   profits that you just referred to?
       10          MR. NAKAMURA: Objection to form.                10      A I believe that is saying something about
       11          THE WITNESS: So in my reports I do              11   the amount, what I just said.
       12       discuss accounting profits and their               12      Q Is saying -- are you able to express an
       13       differences from economic profits, but I'm         13   opinion as to the amount of economic profits from
       14       not expressing opinions as to the level of         14   Google ad tech products in a dollar amount?
       15       accounting profits for Google, Google's ad         15          MR. NAKAMURA: Objection to form.
       16       tech products.                                     16          THE WITNESS: So I'm not providing a
       17   BY MR. ISAACSON:                                       17      specific dollar number for that measure.
       18       Q Are you expressing an opinion in this            18   BY MR. ISAACSON:
       19   case as to the level of economic product --            19      Q Before you were retained in this case,
       20   economic profits for Google's ad tech products?        20   had you heard the term "open-web display
       21          MR. NAKAMURA: Objection to form.                21   advertising"?
       22          THE WITNESS: So I'm expressing an               22      A So before I was retained by this case, I

                                                                                                      9 (Pages 30 - 33)
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                                                         Page 34                                                     Page 36
        1   recall hearing the term "open-web" in contrast          1          MR. NAKAMURA: Objection to form.
        2   with "walled garden," and I recall being familiar       2          THE WITNESS: I'm sorry. Can you repeat
        3   with display advertising. I think I noted my            3       your question, please.
        4   experience 15 years prior, looking into this            4   BY MR. ISAACSON:
        5   space.                                                  5       Q Sure.
        6      Q And before this case, had you heard the            6          So in that bullet point, it lists
        7   term "open-web display advertising" as one term         7   markets, potential markets for publisher ad
        8   with all four words?                                    8   servers, ad exchanges, and advertiser ad networks,
        9      A I do not recall having come across those           9   all for open-web display advertising. You were
       10   four words together.                                   10   asked to determine whether those are relevant
       11             (Exhibit 1 was marked for                    11   antitrust markets.
       12             identification.)                             12          My question is: Were you asked to
       13             (Exhibit 2 was marked for                    13   consider any other market definition than those
       14             identification.)                             14   potential market definitions?
       15             (Exhibit 3 was marked for                    15       A So I recall looking into whether there
       16             identification.)                             16   is a relevant market for demand-side platforms, a
       17   BY MR. ISAACSON:                                       17   relevant antitrust product market for demand-side
       18      Q We've marked as Exhibit 1 your opening            18   platforms.
       19   expert report, we've marked as Exhibit 2 your          19       Q All right. Other than looking into a
       20   rebuttal report, and Exhibit 3 is your                 20   relevant market for demand-side platforms, were
       21   supplemental report.                                   21   you asked to consider any other potential relevant
       22          You have them all in front of you for           22   markets other than those which are listed in
                                                         Page 35                                                     Page 37
        1   ease of access at any point.                        1       paragraph 7?
        2          If I can ask you to look at paragraph 7      2              MR. NAKAMURA: I'll instruct Professor
        3   of your opening report. That's Exhibit 1. In        3          Lee to answer to the extent to which he
        4   paragraph 7 you say, "I have been asked by counsel 4           considered the other markets that counsel
        5   at the Department of Justice," and then you list a  5          asked about, not any communications from
        6   number of things.                                   6          counsel to him.
        7          In the first bullet point, you say --        7              THE WITNESS: So I also considered a
        8   again, with reference to "I have been asked by      8          relevant antitrust product market for a
        9   counsel at the Department of Justice to --          9          broader set of bidding tools, which includes
       10   Determine whether publisher ad servers, ad         10          advertiser ad networks and demand-side
       11   exchanges, and advertiser ad networks are open-web 11          platforms, but as I note in my reports,
       12   display advertising, both worldwide . . . and in   12          concluded that the smaller subset of
       13   the United States, are relevant antitrust          13          advertiser ad networks comprises a relevant
       14   markets."                                          14          antitrust product market.
       15          I skipped a parenthetical about how         15       BY MR. ISAACSON:
       16   worldwide is developed.                            16          Q So other than markets for publisher ad
       17          The -- were you asked to consider any       17       servers, ad exchanges, advertiser ad networks, all
       18   other market definition that would be at issue in  18       for open-web display advertising, or a relevant
       19   this case other than what is said there, whether   19       market for demand-side platforms or for ad
       20   publisher ad servers, ad exchanges and advertiser  20       networks and demand-side platforms, did you
       21   ad networks for open-web display advertising are   21       consider any other potential market definitions in
       22   relevant antitrust markets?                        22       this case?

                                                                                                      10 (Pages 34 - 37)
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                                                               Page 38                                                    Page 40
        1          MR. NAKAMURA: Objection to form.                       1       display advertising or the underlying digital
        2          THE WITNESS: So in this case, as I note                2       advertisements themselves?
        3      in my rebuttal report, I considered                        3   BY MR. ISAACSON:
        4      alternative markets that were proposed by                  4       Q I'm going to ask you if you've seen
        5      Dr. Israel and potentially Doctor or                       5   industry sources reporting market shares for any
        6      Professor Ghose, but those alternative market              6   products that would include the term "open-web
        7      definitions proposed by Google's experts or                7   display advertising."
        8      others that I examined and opined are not                  8       A So can I ask you to rephrase the
        9      appropriate for evaluating Google's market                 9   question? You're asking if I've seen market
       10      power over its ad tech products that I                    10   shares of products that sell open-web display
       11      examined for evaluating the competitive                   11   advertising?
       12      effects of its conduct that I examined.                   12       Q Any type of products. Does it -- like
       13   BY MR. ISAACSON:                                             13   it can be any market, any market share where the
       14      Q The -- do you know if the term "open-web                14   terms "open-web display advertising" is used.
       15   display advertising" existed before counsel for              15          MR. NAKAMURA: Objection to form.
       16   the Department of Justice asked you to consider              16          THE WITNESS: So in my -- maybe I'm not
       17   that term for your market definition?                        17       understanding your question correctly, but in
       18          MR. NAKAMURA: Objection to form.                      18       my report, for example, I've seen a Google
       19          THE WITNESS: So as an economist, I'm                  19       document talking about -- discussing DFP's
       20      interpreting "open-web display advertising"               20       share across various measures of what they
       21      as referring to a set of transactions with                21       refer to as "addressable inventory" or "not
       22      certain characteristics used to be precise                22       walled garden," and the addressable inventory
                                                               Page 39                                                    Page 41
        1      about the products that I'm examining.                     1       overlaps with open-web publishers, publishers
        2          I have seen materials -- I don't recall                2       that don't -- that aren't using integrated ad
        3      the precise dates for those documents --                   3       tech tools to sell their inventory.
        4      where both the term "open-web," the term                   4   BY MR. ISAACSON:
        5      "display advertising," as well as I've seen                5       Q We can talk about addressable inventory
        6      documents from firms where "open-web display               6   later, but whether it's advertising, technology,
        7      advertising," those four words, have been                  7   whatever product you want to name, have you seen
        8      used.                                                      8   any industry sources that report market shares for
        9   BY MR. ISAACSON:                                              9   a market using the words "open-web display
       10      Q    Do you believe you've seen documents                 10   advertising"?
       11   where all four words, "open-web display                      11          MR. NAKAMURA: Objection to form.
       12   advertising," were used together?                            12          THE WITNESS: So those documents I
       13      A    I recall seeing documents produced by                13       referenced earlier, I don't recall if they
       14   Adobe and Facebook, although one of them may be an           14       report any market share figures. I don't
       15   industry source that used open-web display.                  15       recall, sitting here today.
       16      Q    The -- have you seen any industry                    16   BY MR. ISAACSON:
       17   sources that report market shares for open-web               17       Q And let me see if I can -- so there are
       18   display advertising?                                         18   public industry sources that report on -- report
       19          MR. NAKAMURA: Objection to form.                      19   data for digital advertising, correct?
       20          THE WITNESS: So if I may ask you to be                20          MR. NAKAMURA: Objection to form.
       21      more specific. Are you referring to ad tech               21          THE WITNESS: Yes, I believe there are
       22      products that facilitate the sale of open-web             22       public sources, including e-Marketer, that

                                                                                                           11 (Pages 38 - 41)
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                                                        Page 42                                                   Page 44
        1      looks at digital advertising.                    1      using the term "open-web" to refer to publisher
        2   BY MR. ISAACSON:                                    2      inventory or publisher web inventory that is not
        3      Q Have you seen any industry sources that        3      sold through integrated ad tech products, and it's
        4   report public data that would reflect shares of     4      a description of what that set of inventory is.
        5   any market that uses the term "open-web display     5             I use "display advertising" to refer to
        6   advertising"?                                       6      a particular form of digital advertising, and so
        7          MR. NAKAMURA: Objection to form.             7      when I use those terms, it's meant to clarify the
        8          THE WITNESS: I think, as I mentioned         8      sets of products and transactions over which
        9      before, sitting here today, I don't recall if    9      certain calculations are made.
       10      any of the documents that I remember using      10         Q I'm not asking you how you're using the
       11      the terms "open-web display" report market      11      term or why you're using the term.
       12      share figures or rely upon public data.         12             You, in your reports, do estimates of
       13   BY MR. ISAACSON:                                   13      market shares where -- different markets where you
       14      Q And is it also the case that, sitting         14      use the term "open-web display advertising,"
       15   here today, you don't recall any documents from    15      correct?
       16   Google that report market shares using the term    16         A So the relevant product markets that I
       17   "open-web display advertising"?                    17      evaluate are those involving advertiser ad
       18      A Sitting here today, I do not recall any       18      networks, ad exchanges, and publisher ad servers,
       19   Google documents using the term "open-web display 19       so those are the markets.
       20   advertising" that report market shares for ad tech 20         Q So you estimate market shares in your
       21   products.                                          21      report for a market of publisher ad servers for
       22      Q And sitting here today, from the              22      open-web display advertising, correct?
                                                        Page 43                                                   Page 45
        1   third-party documents that have been made              1      A These are publisher ad servers which are
        2   available to you from this case, am I correct you      2   used to transact open-web display advertising.
        3   do not recall any third-party documents that use       3      Q Is that a yes?
        4   the term "open-web display advertising" to report      4      A I'm sorry. What is your question?
        5   market shares for any products?                        5      Q In your report, you estimate market
        6       A So as I noted earlier, I recall                  6   shares for publisher ad servers for open-web
        7   third-party documents using the term "open-web         7   display advertising, correct?
        8   display." I do not recall if they reported market      8      A I do provide market shares for publisher
        9   shares for specific ad tech products.                  9   ad servers that facilitate the transaction of
       10       Q To your knowledge, is this case the             10   open-web display advertising.
       11   first time anyone has tried to assemble market        11      Q And in your reports, you report market
       12   share data using the term "open-web display           12   shares for ad exchanges for open-web display
       13   advertising"?                                         13   advertising, correct?
       14       A I'm not quite sure what you mean by             14      A I do report market shares for ad
       15   assemble data using a term. I understand what it      15   exchanges that facilitate the sale of open-web
       16   means to assemble data restricted to a set of         16   display advertising.
       17   products with certain features.                       17      Q And in your, in your report, you report
       18       Q So let me explain.                              18   market shares for advertiser ad networks for
       19           You have, in your reports, estimated          19   open-web display advertising, correct?
       20   market shares for markets where you're using the      20      A In my report I do report market shares
       21   term "open-web display advertising," correct?         21   for --
       22       A So as an economist, in my reports I'm           22          THE REPORTER: Hold on just a moment.

                                                                                                    12 (Pages 42 - 45)
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                                                                 Page 66                                                    Page 68
        1      you know, my opinions regarding market                       1   differences between products can be evidence that
        2      definition are based on the totality of                      2   two products are -- I'm doing a double negative
        3      evidence that I present.                                     3   now, so let me just ask you: In order for -- do
        4          I think a strong set of evidence that I                  4   you agree that incremental differences of a
        5      discuss which supports the validity of the                   5   certain magnitude can be evidence that two
        6      relevant product markets is Google's exercise                6   products are not close substitutes?
        7      of market power over its AdX, Google Ads and                 7          MR. NAKAMURA: Objection to form.
        8      DFP product, right?                                          8          THE WITNESS: I guess the question is
        9          So I'm looking at not just a single                      9      imprecise. What do you, what do you mean
       10      piece of evidence, but the totality of                      10      by -- I think what I said before is examining
       11      evidence to form my opinions regarding market               11      whether, in this case, open-web display
       12      definition.                                                 12      advertising has distinct incremental value
       13   BY MR. ISAACSON:                                               13      over other forms of digital advertising is an
       14      Q If products have incremental value of a                   14      important consideration in my analysis of
       15   certain magnitude, you would consider that                     15      whether the relevant product markets I
       16   evidence that they are not close substitutes; is               16      evaluate are valid and pass the hypothetical
       17   that correct?                                                  17      monopolist test.
       18          MR. NAKAMURA: Objection to form.                        18   BY MR. ISAACSON:
       19          THE WITNESS: I think that it is an                      19      Q And how do you determine whether
       20      important consideration whether or not a set                20   something has -- two products have -- one product
       21      of, here, digital advertisements provide                    21   has distinct incremental value?
       22      distinct value over other forms of digital                  22      A I think a large part of my report talks
                                                                 Page 67                                                    Page 69
        1      advertising. I think that's important to                     1   about reasons why open-web display advertising is
        2      understand, but when I get to market                         2   an important form of monetization for -- let's
        3      definition, I'll be focusing on the tools                    3   focus on publishers.
        4      used to transact those digital                               4          So for publishers, open-web display
        5      advertisements, and there I will also                        5   advertising is significant evidence that speaks to
        6      consider the extent to which the underlying                  6   the value it has for helping them monetize their
        7      tools can be replaced with other                             7   web inventory.
        8      alternatives.                                                8      Q How do I, how do I determine whether
        9   BY MR. ISAACSON:                                                9   something, in your view, would have distinct
       10      Q    And as an economist, how would you look                10   incremental value? For example, does Coke have
       11   at -- how would you decide whether, what magnitude             11   distinct incremental value over Pepsi?
       12   is necessary for -- I'll start that question over.             12      A Well, I'm not valuating soft drinks in
       13          In order for incremental differences to                 13   this matter. What I'm doing is showing here, for
       14   be evidence that two products are not close                    14   the purpose of looking at ad tech products,
       15   substitutes, how would you define the magnitude                15   publishers derive significant value, additional
       16   that's necessary of that difference?                           16   monetization from being able to sell their web
       17          MR. NAKAMURA: Objection to form.                        17   inventory through display ads.
       18          THE WITNESS: So the preamble to your                    18          And if they did not have access to those
       19      question is not something that I stated or                  19   tools that allow them to sell display ads, they
       20      necessarily agree with.                                     20   would be foregoing a significant amount of
       21   BY MR. ISAACSON:                                               21   advertising revenue, which would likely lead to a
       22      Q    You don't agree that incremental                       22   reduction of content and investment.

                                                                                                              18 (Pages 66 - 69)
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                                                        Page 70                                                    Page 72
        1          And in my report, I discuss why other           1   or not ad tech products, ad exchanges, ad
        2   forms of digital advertising are unlikely to be        2   networks, advertiser ad networks, and publisher ad
        3   effective replacements for display advertising.        3   servers --
        4      Q And in your view, can two products that           4       Q I don't know what that has to do with my
        5   have distinct incremental value from one another       5   question. Let me repeat my question.
        6   be close substitutes?                                  6          Can two products that have significant
        7          MR. NAKAMURA: Objection to form.                7   incremental value differences from one another be
        8          THE WITNESS: I think, I think this is           8   close substitutes?
        9      why one needs to look at the totality of the        9       A It's difficult to provide a general
       10      evidence and to look at other things to            10   statement. This is why I'm looking at the
       11      inform whether, in this case, ad tech              11   totality of evidence to inform my opinions
       12      products like ad exchanges, if controlled by       12   regarding market definition.
       13      a hypothetical monopolist, could exercise          13       Q The -- and you are using the term "close
       14      market power over competitive levels.              14   substitutes" for your analysis in this case,
       15   BY MR. ISAACSON:                                      15   because you find the term "reasonable substitute"
       16      Q Let me repeat the question, because              16   to be too vague; is that correct?
       17   you're saying "I think this is why," and I don't      17       A Well, the "reasonable substitute"
       18   know what you're talking about.                       18   language you used in your question without
       19          In your view, can two products that have       19   appropriate context, I wanted to clarify.
       20   distinct incremental value from one another be        20          So in my report, when I use "close
       21   close substitutes?                                    21   substitute," what I'm talking about is
       22          MR. NAKAMURA: Objection to form.               22   substitution that's sufficient to constrain the
                                                        Page 71                                                    Page 73
        1          THE WITNESS: I think I answered this            1   exercise of market power, and it depends on the
        2      question before, that it will depend on other       2   context we're using it, right?
        3      things, including magnitude. If there's de          3          So for market definition, I am applying
        4      minimus incremental value, then it may not be       4   an economic framework known as the hypothetical
        5      the case.                                           5   monopolist test, and for that test, it's important
        6   BY MR. ISAACSON:                                       6   to consider the extent to which a hypothetical
        7      Q I'm using your term, "distinct                    7   monopolist, over a set of products, would be
        8   incremental value," right? In your view, can two       8   constrained by alternatives, outside of the
        9   products that have distinct incremental value from     9   products it controls, from exercising significant
       10   one another be close substitutes?                     10   market power over competitive levels.
       11      A So when I'm using "distinct incremental          11       Q So you've tried to, you've tried to
       12   value" here for the purposes of open-web display      12   clarify the context of the question.
       13   advertising, I'm describing why it provides           13          I'm asking you: You're using the term
       14   significant incremental value to the customers who    14   "close substitute" for your analysis in this case
       15   rely upon it.                                         15   rather than "reasonable substitutes," because you
       16      Q So can two products that have                    16   think the language "reasonable substitutes" is too
       17   significant incremental value from one another be     17   vague; is that correct?
       18   close substitutes?                                    18       A That statement I made earlier was in the
       19      A So if we're talking about digital                19   context of the question you asked. I don't know
       20   advertising, I'm not evaluating, for the present      20   if I used term "reasonable" elsewhere in my
       21   market definition, substitution among digital         21   reports, which might have been a different
       22   advertising. The focus of my inquiry is whether       22   context, but I was saying for today, when I use

                                                                                                     19 (Pages 70 - 73)
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                                                               Page 74                                                    Page 76
      1   the term close substitutes and when you use close               1   These products form what is known as the 'ad tech
      2   substitutes in my reports, the description I                    2   stack.'"
      3   provided earlier is what I mean by that.                        3           That's what you've written there,
      4       Q Today you prefer the term "close                          4   correct?
      5   substitutes" because you think the term                         5       A That is what I wrote there.
      6   "reasonable substitutes" is vague; is that                      6       Q And you would consider Google to have an
      7   correct?                                                        7   ad tech stack; is that right?
      8       A At present, without having provided a                     8       A So the way that I'm using the term here
      9   definition for that, I would say that it is not                 9   is to refer to the set of all the products that
     10   clear. I want to be precise.                                   10   are used to facilitate display advertising, so
     11       Q The -- you agree that a variety of ad                    11   publisher ad servers, ad exchanges and advertiser
     12   tech products work in conjunction with one another             12   bidding tools, which include DSPs and advertiser
     13   to facilitate display advertising transactions,                13   ad networks. Those products overall are what I,
     14   correct?                                                       14   what I am referring to as an, as the ad tech
     15          MR. NAKAMURA: Objection to form.                        15   stack.
     16          THE WITNESS: So particular ad tech                      16       Q So that wasn't my question.
     17       products, the ones I discuss, advertiser ad                17           My question was: Do you consider Google
     18       networks, ad exchanges, publisher ad servers,              18   to have an ad tech stack?
     19       are often used in conjunction with one                     19       A So I consider Google to be a firm that
     20       another by advertisers and publishers to                   20   offers products within what is known as the ad
     21       transact open-web display advertising.                     21   tech stack.
     22                                                                  22       Q You consider Google to offer something
                                                               Page 75                                                    Page 77
      1   BY MR. ISAACSON:                                                1   that's within the ad tech stack but not to offer
      2      Q    And you would refer to ad tech products                 2   itself an ad tech stack; is that correct?
      3   working in conjunction with one another as an "ad               3       A Again, I'm using the ad tech stack to
      4   tech stack"; is that right?                                     4   refer to these three -- I say, called them
      5          MR. NAKAMURA: Objection to form.                         5   "layers" of ad tech products, and Google offers
      6          THE WITNESS: I think I and other                         6   products in each of those layers.
      7      industry participants have used the term "ad                 7       Q Do you consider Google to offer an ad
      8      test stack" to refer to the set of products,                 8   tech stack with those three layers?
      9      not necessarily them working in conjunction                  9       A I can't answer your question. I don't
     10      with one another. It's a set of products                    10   consider Google to offer the stack. The stack
     11      that, you know, facilitate the sale of                      11   refers to the set of all the products that are in
     12      open-web display advertising.                               12   these layers, and Google offers products contained
     13          MR. NAKAMURA: Counsel, we've been going                 13   within these layers. In particular, the ones I
     14      for about an hour and 15.                                   14   focus on are Google Ads, AdX and DFP.
     15          MR. ISAACSON: Let me just -- I'll be                    15       Q Paragraph 53 you say, "At a high level,
     16      done with this in a minute.                                 16   the ad tech stack can be described as comprising
     17   BY MR. ISAACSON:                                               17   three layers," and then you define the three
     18      Q    Paragraph 53 of your opening report,                   18   layers as "publisher ad servers, ad exchanges and
     19   which is page 26, in paragraph 53 you write, "A                19   advertiser bidding tools."
     20   variety of ad tech products work in conjunction                20           Does Google offer ad tech with publisher
     21   with one another to facilitate display advertising             21   ad servers, ad exchanges, and advertiser bidding
     22   transactions between publishers and advertisers.               22   tools?

                                                                                                            20 (Pages 74 - 77)
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                                                         Page 78                                                            Page 80
      1      A So Google offers a publisher ad server,              1          THE VIDEOGRAPHER: Going off the record
      2   an ad exchange, an advertiser ad network, and a           2      at 11:02 a.m.
      3   demand-side platform.                                     3             (Whereupon, a short recess was
      4      Q And at a high level, do you believe                  4             taken.)
      5   Google is offering a, is offering an ad tech              5          THE VIDEOGRAPHER: Going back on the
      6   stack?                                                    6      record at 11:19 p.m. You may proceed.
      7          MR. NAKAMURA: Objection to form.                   7             (Exhibit 4 was marked for
      8          THE WITNESS: So at a high level, I'm               8             identification.)
      9      referring to the ad tech stack, which                  9   BY MR. ISAACSON:
     10      represents -- I think I said this before --           10      Q    Marked as Lee Exhibit 4 is a document
     11      all the products that are in these different          11   dated November 2020, Bates-stamped
     12      layers, and again, Google offers products             12   GOOG-DOJ-AT-OO855803 to 813.
     13      which are contained within this broader ad            13          If you look at page 807 at the bottom --
     14      tech stack which describes these different            14   take a look at 807 at the bottom.
     15      layers.                                               15          You referred earlier in the deposition
     16   BY MR. ISAACSON:                                         16   to a document that referred to -- it had a market
     17      Q Do you deny that Google is offering, at             17   share and used the term "addressable inventory"?
     18   a high level, an ad tech stack consisting of three       18      A    I did refer to a document. This is not
     19   layers that include publisher ad servers, ad             19   the one I had in mind.
     20   exchanges, and advertiser bidding tools?                 20      Q    Okay. You cited it. We took a shot at
     21          MR. NAKAMURA: Objection to form.                  21   it, because it says "addressable inventory," and
     22          THE WITNESS: So how I and other -- I              22   you cite it at footnote 252 of your report.
                                                         Page 79                                                            Page 81
      1    believe other industry participants have used 1                      MR. NAKAMURA: That's at page 81.
      2    the term "ad tech stack" is to refer to this   2                     THE WITNESS: So footnote 252?
      3    entire -- I'm going to use loosely the word    3             BY MR. ISAACSON:
      4    "industry," but essentially the set of         4                 Q Yes.
      5    products falling into these different layers.  5                 A I'm citing to page 808.
      6        So no single firm offers the entire ad     6                 Q That might be an error, because 807 says
      7    tech stack, because the ad tech stack has      7             "addressable inventory" and 808 does not.
      8    different participants, although Google does 8                   A But footnote 252 is attached to a
      9    have a very large share of each of these       9             sentence that states "a 2020 Google" --
     10    layers, but is not the only provider of       10                     THE REPORTER: Could you slow down? Is
     11    products.                                     11                 attached to a statement --
     12 BY MR. ISAACSON:                                 12                     THE WITNESS: To a statement that is not
     13    Q So Google does not offer an ad tech         13                 referring to addressable inventory.
     14 stack, in your view?                             14             BY MR. ISAACSON:
     15        MR. NAKAMURA: Objection to form. 15                          Q But -- so but page 807 is not the
     16        THE WITNESS: The way I am using the 16                   document you were referring to that -- referring
     17    term, and I put it in quotes, "ad tech stack" 17             to addressable inventory and having a market
     18    refers to, I think I said in the last answer, 18             share?
     19    the entirety of these layers, all of the      19                     It will help you to look at 807 to
     20    products that are in each of these layers.    20             answer this question.
     21        MR. ISAACSON: Let's take a break.         21                 A So 807 I see later in my report, in
     22        MR. NAKAMURA: Okay.                       22             Figure 41, it does show this. I was thinking in

                                                                                                            21 (Pages 78 - 81)
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                Errata Sheet for the Deposition Transcript of Professor Robin S. Lee

  Case Name: United States et al v. Google LLC, No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
  Depo. Date:     March 15, 2024
  Deponent:       Robin Lee
  Page Line       Correction                                          Reason for Correction
  10    10        Change “White?” to “pretty wide?”                   Transcription error
  17    6         Change “9:48 pm” to “9:49 am”                       Transcription error
  23    11        Change “Dr. Weintrop” to “Dr. Weintraub”            Transcription error
  33    19        Change “in” to “for”                                Transcription error
  38    2         Change “I note” to “noted”                          Transcription error
  38    7         Change “or” to “are”                                Transcription error
  38    11        Change “for” to “or”                                Transcription error
  44    13        Change “different” to “for”                         Transcription error –
                                                                      glitch in audio
  58    20        Add “display advertising” after “open-web”          Transcription error
  59    3         Change “customer” to “customers”                    Transcription error
  59    4         Add “product” before “markets”                      Transcription error
  65    13        Change “advertise bits” to “advertisements”         Transcription error
  69    4–5       Change “So for publishers, open-web display         Transcription error
                  advertising is significant evidence” to “So for
                  publishers, open-web display advertising -- there
                  is significant evidence”
  69    12        Change “valuating” to “evaluating”                  Transcription error
  73    20        Add “the” before “term”                             Transcription error
  74    1         Change “you use” to “I use”                         Transcription error
  80    6         Change “p.m.” to “a.m.”                             Transcription error
  80    12        Change “GOOG-DOJ-AT-OO855803 to” to                  Transcription error and
                  “GOOG-DOJ-AT-00855803 through”                       spelling for clarity
  94    13        Change “(indecipherable) -- elsewhere” to “as I      Transcription error
                  noted earlier elsewhere --”
  107   9         Change “ad networks I provided data” to “ad          Transcription error
                  networks that provided data”
  108   1         Change “curtailed, as you noted,” to “; Criteo, as   Transcription error
                  you noted;”
  109   8         Change “them are of these” to “them -- or of these - Transcription error
                  -”
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  112   4      Change “this application” to “its applications”    Transcription error
  112   5      Change “those were present” to “it was present”    Transcription error
  115   16     Change “the web and ad property” to “a web and an Transcription error
               app property”
  117   14     Change “display, with regards” to “display. With  Transcription error
               regards”
  126   8–9    Change “this app component” to “there was an app Transcription error
               component”
  127   14     Change “Google display network” to “Google        Capitalization for clarity
               Display Network”
  128   1      Change “DFPs” to “DFP”                            Transcription error
  129   5      Change “DC360” to “DV360”                          Transcription error
  129   13     Add double quotation mark after “rivals.”          Transcription error
  129   21     Change “methods to monopolization” to “methods Transcription error
               of monopolization”
  130   2      Change “to rivals” to “of rivals”              Transcription error
  132   7      Change “firm” to “firm’s”                          Transcription error
  143   1      Add “of this figure” after “unaddressable part.”   Transcription error
  143   16     Change “In paragraphs 12 and 3” to “In paragraph   Transcription error
               12 on page 3”
  146   14     Change “advertisers side” to “advertiser side”     Transcription error
  162   8      Change “open bidding” to “Open Bidding”            Capitalization for clarity
  174   16     Change “accommodation” to “competition”            Transcription error
  180   2–3    Change “experience in” to “experiments and”        Transcription error
  180   21     Change “AdX’s” to “Ads-AdX”                        Transcription error
  181   20     Change “Ads, AdX’s” to “Ads-AdX”                   Transcription error
  184   8      Remove extra space before “de minimus”             Formatting for clarity
  189   15     Change “anyone can have last-look over” to “any    Transcription error
               one to have last-look over”
  196   8      Change “shares” to “share”                         Transcription error
  196   21 –   Change “computed for –” to “computed for – users” Lee added “users,” not
        22     ; delete “By Mr. Isaacson: Q Users?”              Isaacson; Isaacson wasn’t
                                                                 questioning
  199   9      Change “Exhibit 7” to “Lee Exhibit 7”             Transcription error
  200   9 – 10 Change “whether – the value of whether” to         Transcription error
               “whether he’s evaluated”
  200   11     Change “antirust” to “antitrust”                   Transcription error
  201   11     Change “the” to “this”                             Transcription error
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  202   3      Change “it as” to “as a”                               Transcription error
  203   1      Change “advertiser ad network --” to “advertiser ad Transcription error
               network product --”
  206   7      Change “average than a disproportionate” to         Transcription error
               “average, and a disproportionate”
  207   3      Change “advertisers, the highest” to “advertisers   Transcription error
               with the highest”
  207   18     Change “zero zero” to “zero-zero”                   Punctuation for clarity
  208   6      Change “zero zero” to “zero-zero”                      Punctuation for clarity
  208   16 –   Change “Could I inspect that real briefly before I     Transcription error
        17     hand it back to you?” to “And, Professor Lee, could
               I just inspect that briefly before you take a look and
               I’ll hand it back to you?”
  208   18     Change “Okay” to “Here you go”                         Transcription error
  208   20     Change “I’ve given you Figure 1 [sic] and drawn”       Transcription error
               to “In Figure -- I’ve given you Figure 1 [sic] and
               drawn -- and drawn”
  209   17     Remove “then” before “an increase”                     Transcription error
  211   1–2    Change “are we referring to Figure 16 instead of        Transcription error
               Figure 1?” to “I’d like to note that we’re referring to
               Figure 16 and I think you said Figure 1, so I just
               want to make that clear.”
  212   9      Change “Like none of my reports -- ” to “So, as I Transcription error
               said in my reports,”
  213   12     Insert “in” before “the main text”                      Transcription error
  214   16     Change “declines to” to “declines from”                Transcription error
  215   17     Change “between 15 and 20, maybe halfway” to           Transcription error
               “between 15—maybe halfway”
  216   9      Change “is the end” to “is either the end”             Transcription error
  219   7      Change “It’s” to “If it’s”                             Transcription error
  220   14     Insert “for” after “difficult”                         Transcription error
  227   19     Insert “Which paragraph” after “Counsel?”              Transcription error
  227   22     Change “Actually, the heading.” to “Actually, the      Transcription error
               heading—won’t even go to the paragraph.”
  229   7      Change “Let me pause there” to “The -- let me          Transcription error
               pause there”
  234   7      Change “analysis” to “analyses”                        Transcription error
  236   2      Change “AdX’s” to “Ads-AdX”                            Transcription error
  236   22     Insert “to” before “DFP”                               Transcription error
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  239   2      Change “controlling” to “after controlling”            Transcription error
  242   1–2    Change “could stop for a break” to “could stop         Transcription error
               soon, that’d be great.”
  242   6      Change “Make it quick” to “I mean, if it’s quick       Transcription error
               that would be fine.”
  242   18     Insert “at” after “transacted”                         Transcription error
  243   8      Change “had not opined” to “am not opining”            Transcription error
  244   1      Insert quotations around “quality-adjusted.”           Punctuation for clarity
  247   3      Change “Bernicky” to “Bernanke”                        Transcription error
  247   3–4    Change “CPC, CPM” to “CPC-CPM”                         Transcription error
  252   8      Change “AW bidding program” to “AWBid                  Transcription error
               program”
  255   19     Change “all bid” to “AWBid”                            Transcription error
  256   10     Change “AdSense in third-party exchanges” to           Transcription error
               “AdSense, in third-party exchanges,”
  261   17     Change “AW bid” to “AWBid”                             Transcription error
  263   2      Change “they” to “I”                                   Transcription error
  264   11     Change “E10” to “B-10”                                 Transcription error
  264   19 –   Change “relevant product market among advertiser Transcription error
        20     ad networks” to “relevant product market. Among
               advertiser ad networks”
  267   2      Change “is” to “has”                             Transcription error
  288   20     Change “yield” to “yield,”                             Transcription error
  292   2      Change “AdX was allowed” to “AdX -- was --             Transcription error
               allowed”
  292   8      Change “in the” to “into”                              Transcription error
  296   5      Change “Abrontes” to “Abrantes”                        Transcription error
  296   6      Change “Abrontes” to “Abrantes”                        Transcription error
  296   11     Change “to” to “through”                               Transcription error
  298   13     Change “, which is really only a decade” to “--        Transcription error
               which was really only at the start of the decade”
  299   6      Change “RTV” to “RTB”                                  Transcription error
  299   21     Change “Abrontes” to “Abrantes”                        Transcription error
  303   1      Change “it is cited? I mean this” to “is it cited? I   Transcription error
               mean is this”
  305   13     Replace “?” with “.”                                   Transcription error
  307   5      Change “I don’t recall.” to “Sitting here today, I     Transcription error
               don’t recall.”
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